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UNITED STATES BANKRUPTCY COURT                                    Hearing Date & Time:
SOUTHERN DISTRICT OF NEW YORK                                     May 23, 2018 at 10:00 a.m.
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In re:

ELZENA HUFFMAN,                                                   Case No: 18-10513-mkv
                                                                  Chapter 7

                                   Debtor.

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                               DEBTOR’S MOTION TO AMEND HER
                                  SOCIAL SECURITY NUMBER

                         ERRONEOUS SOCIAL SECURITY NUMBER xxx-xx-4598
                         CORRECTED SOCIAL SECURITY NUMBER xxx-xx-4598



TO:      THE HONORABLE MARY KAY VYSKOCIL,
         UNITED STATES BANKRUPTCY JUDGE

         ELZENA HUFFMAN, the chapter 7 debtor in the above-captioned proceeding (the

“Debtor”), by her undersigned counsel, moves this Court for authority to amend her social

security number that was improperly provided to the Clerk’s Office when her chapter 7 petition

was filed. In support of the relief requested, Debtor states the following:

         1.      On February 26, 2018, Debtor commenced this proceeding by filing a voluntary

chapter 7 petition in bankruptcy with this Court.

         2.      Judge Mary Kay Vyskocil was appointed as the Bankruptcy Judge.

         3.      On February 27, 2018, Albert Togut was appointed as the chapter 7 trustee

(“Trustee”), has qualified as Trustee, and is administering the Debtor’s estate.

         4.      On April 18, 2018, Debtor appeared with her undersigned counsel for her

examination before the Trustee pursuant to section 341 of the Bankruptcy Code (the “341

Meeting”).
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       5.      During the 341 Meeting, Debtor advised the Trustee that her social security

appearing in the notice of the meeting that was sent to creditors was mistaken in one digit. After

Debtor’s counsel represented that he would take appropriate action to correct the mistake, the

Trustee conducted the examination of Debtor. The Trustee closed the 341 meeting subject to

reopening if Debtor did not correct this error. Debtor has filed this Motion to correct the error

and consistent with her counsel’s representation.

       6.      In reviewing the matter, Debtor’s counsel believes he committed a scrivener’s

error when electronically filing Debtor’s petition by inadvertently typing in one number for

another in one of the first 5 digits of Debtor’s social security number. The final 4 digits of the

Debtor’s social security number were inputted correctly.

       7.      Debtor’s counsel regrets the error and the imposition on the Court, the Debtor, the

Trustee and other parties. Counsel is not charging the Debtor for any services in connection with

this Motion including preparation, appearance at this hearing and service of the required notice if

this Motion is granted.

       8.      Debtor’s counsel is aware of the Court’s requirement that, after entry of an order

approving this Motion, the Debtor must (i) provide notice of the correct nine digits of the

Debtor’s social security number to all creditors and parties in interest, and (ii) file with the

Clerk’s Office an affidavit of service after notice has been properly sent. On behalf of Debtor,

counsel will promptly comply with these requirements after an order is entered.

       9.      A copy of the Motion has been provided to the Trustee. Copies of the original and

the amended Official Form 121 have been delivered to the Clerk’s Office (together with a copy

of this Motion) in accordance with the Court’s rules.




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       WHEREFORE, based on the foregoing, the Debtor requests entry of the proposed order

attached hereto as Exhibit A, and the granting of any other relief the Court deems just and

correct.

                                             LAW OFFICE OF ANTHONY M. VASSALLO
                                             Attorney for the Debtor

                                             By:     /s/Anthony M. Vassallo

                                                     305 Fifth Avenue
                                                     Brooklyn, NY 11215
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